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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF KENTUCKY
                                   COVINGTON DIVISION


   STATE OF TENNESSEE, et al.,

            Plaintiffs,

   v.
                                                          Case No. 2:24-cv-00072-DCR-CJS
   MIGUEL CARDONA, in his official capacity               Chief District Judge Danny C. Reeves
   as Secretary of Education, et al.,                     Magistrate Judge Candace J. Smith

            Defendants.



        STIPULATION REGARDING ANSWERS/RESPONSIVE PLEADINGS TO THE
                  COMPLAINT AND INTERVENING COMPLAINT

           The parties hereby stipulate and agree that there is no need for Defendants to file a separate

  response to the Complaint and Intervening Complaint, and that Defendants’ response to the

  Complaint and Intervening Complaint can and shall be consolidated with their motion for summary

  judgment. The parties further stipulate as follows:

        1. On June 25, 2024, Defendants filed an unopposed motion to extend the deadlines to answer

  the Complaint and Intervening Complaint until July 22, 2024, see ECF No. 106, which the Court

  granted. See June 26, 2024, Minute Order.

        2. In a separate motion relating to the schedule for dispositive motions in this case,

  Defendants indicated that Plaintiffs and Intervenor-Plaintiffs have agreed that Defendants need not

  file an answer to the Complaint and Intervening Complaint. ECF No. 116 at 2. On July 12, 2024,

  this Court issued a Notice, stating that “for the Court to consider such a proposition, the parties

  must file a stipulation obviating the need for the defendants to file Answers/responsive pleadings

  to the Complaint and Intervening Complaint.” See ECF No. 119 at 1.


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     3. The Court has since entered a scheduling order in this case, which sets forth a summary

  judgment briefing schedule. ECF No. 121. In accordance with that schedule, Plaintiffs’ motion for

  summary judgment is due on or before July 26, 2024, and Defendants’ response and cross-motion

  for summary judgment is due on or before August 23, 2024.

     4. The parties have further conferred regarding Defendants’ response to the complaint and,

  consistent with the Court’s July 12, 2024 Notice, Defendants, Plaintiffs, and Intervenor-Plaintiffs,

  by and through their undersigned counsel, hereby stipulate that there is no need for Defendants to

  file a separate response to the Complaint and Intervening Complaint, and further stipulate that

  Defendants’ response to the Complaint and Intervening Complaint can and should be consolidated

  with their motion for summary judgment.


  Dated: July 17, 2024                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2024, I electronically filed this document with the Court

  by using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF

  system.



                                                       /s/ Pardis Gheibi




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